884 F.2d 1389Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward Earl LLOYD, Petitioner-Appellant,v.Talmadge BARNETT, Attorney General of North Carolina,Respondents-Appellees.
    No. 89-7064.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 31, 1989.Decided Aug. 18, 1989.
    
      Edward Earl Lloyd, appellant pro se.
      Richard Norwood League, Office of the Attorney General of North Carolina, for appellees.
      Before HARRISON L. WINTER, DONALD RUSSELL, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Edward Earl Lloyd seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Lloyd v. Barnett, C/A No. 88-506-HC (E.D.N.C. Feb. 14, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    